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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                            )
    In re:                                                                  )   Chapter 11
                                                                            )
    COMPUTE NORTH HOLDINGS, INC., et al.,1                                  )   Case No. 22-90273 (MI)
                                                                            )
                     Debtors.                                               )   (Jointly Administered)
                                                                            )   Re: Docket Nos. 91, 256, & 478

                                NOTICE OF REVISED
                          PROPOSED ORDER (I) APPROVING
                      THE SALE OF CERTAIN CONTAINER ASSETS
                     FREE AND CLEAR OF ALL LIENS, CLAIMS, AND
                  ENCUMBRANCES AND (II) GRANTING RELATED RELIEF

PLEASE TAKE NOTICE THAT:

             1.    On September 26, 2022, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) filed a motion [Docket No. 91] (the “Sale Motion”)2 seeking, among

other things, approval of the sale of all or substantially all or any subset of the Debtors’ assets.

             2.    On October 24, 2022, the Court entered an order [Docket No. 256] (the “Bidding

Procedures Order”) approving certain bidding procedures in connection with the proposed sale of

the Debtors’ assets pursuant to the Sale Motion.

             3.    On November 14, 2022, the Debtors have filed the Notice of Successful Bidder for

Certain Container Assets [Docket No. 477] (the “Successful Bidder Notice”), notifying parties in



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Compute North Holdings, Inc. (4534); Compute North LLC (7185); CN Corpus Christi LLC
      (5551); CN Atoka LLC (4384); CN Big Spring LLC (4397); CN Colorado Bend LLC (4610); CN Developments
      LLC (2570); CN Equipment LLC (6885); CN King Mountain LLC (7190); CN Minden LLC (3722); CN Mining
      LLC (5223); CN Pledgor LLC (9871); Compute North Member LLC (8639); Compute North NC08 LLC (8069);
      Compute North NY09 LLC (5453); Compute North SD, LLC (1501); Compute North Texas LLC (1883);
      Compute North TX06 LLC (5921); and Compute North TX10 LLC (4238). The Debtors’ service address for the
      purposes of these chapter 11 cases is 7575 Corporate Way, Eden Prairie, Minnesota 55344.
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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Sale
      Motion.
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interest that, pursuant to the Bidding Procedures Order, the Debtors have designated Crusoe

Energy Systems, LLC (the “Purchaser”) as the Successful Bidder for the 11 specific modular data

center containers (the “Purchased Containers”).

       4.      On November 14, 2022, the Debtors filed the Notice of Proposed Order

(I) Approving the Sale of Certain Container Assets Free and Clear of All Liens, Claims, and

Encumbrances and (II) Granting Related Relief [Docket No. 478] (the “Sale Order Notice”).

       5.      A proposed form of order approving the sale of the Purchased Containers to the

Purchaser was attached to the Sale Order Notice as Exhibit A (the “Initial Proposed Order”).

       6.      The Debtors hereby file a revised proposed form of order, attached hereto

as Exhibit A (the “Revised Proposed Order”) approving the sale of the Purchased Containers to

the Purchaser, which incorporates certain changes agreed upon by the parties. For the convenience

of the Court and parties in interest, a redline of the Revised Proposed Order marked against the

Initial Proposed Order is attached hereto as Exhibit B.



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Dated: November 15, 2022
Houston, Texas                  /s/ James T. Grogan III
                                PAUL HASTINGS LLP
                                James T. Grogan III (TX Bar No. 24027354)
                                600 Travis Street, 58th Floor
                                Houston, Texas 77002
                                Telephone: (713) 860-7300
                                Facsimile: (713) 353-3100
                                Email: jamesgrogan@paulhastings.com
                                -and-
                                Luc Despins (admitted pro hac vice)
                                Sayan Bhattacharyya (admitted pro hac vice)
                                Daniel Ginsberg (admitted pro hac vice)
                                200 Park Avenue
                                New York, New York 10166
                                Telephone: (212) 318-6000
                                Facsimile: (212) 319-4090
                                Email: lucdespins@paulhastings.com
                                       sayanbhattacharyya@paulhastings.com
                                       danielginsberg@paulhastings.com
                                -and-
                                Matthew Micheli (admitted pro hac vice)
                                Michael Jones (admitted pro hac vice)
                                71 South Wacker Drive, Suite 4500
                                Chicago, Illinois 60606
                                Telephone: (312) 499-6000
                                Facsimile: (312) 499-6100
                                Email: mattmicheli@paulhastings.com
                                       michaeljones@paulhastings.com

                                Counsel to the Debtors and Debtors in Possession
